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FILED

WESTERN DISTRICT OF TEXAS ZOIFEB 25 PM 3: 13
EL PASO DIVISION .
CLERK, U.S. DISTRICT COURT

NSTRI CT OF TEXAS
UNITED STATES OF AMERICA ny SY) A)
vs § NO: EPIOCR5aQg peyey
§ V
OMAR. OBREGONI-OTIZ =—s_ 8
WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT

AND
ENTRY OF PLEA OF NOT GUILTY

COMES NOW Defendant in the above referenced case who, along with his undersigned attorney,
hereby acknowledges the following:

1) Defendant has received a copy of the indictment or information in this case. Defendant
understands the nature and substance of the charges contained therein, the maximum
penalties applicable thereto, and his Constitutional Rights, after being advised of all the
above by his/her attorney.

2) Defendant understands he/she has the right to appear personally with his/her attorney before
a Judge for arraignment in open Court on this accusation. Defendant further understands that,
absent the present waiver, he will be so arraigned in open Court.

Defendant, having conferred with his attorney in this regard, hereby waives personal appearance
with his attorney at the arraignment of this case and the reading of the indictment or information, and, by
this instrument, tenders his plea of “not guilty.” The defendant understands that the entry by the Court of
said plea for defendant will conclude the arraignment in this case for all purposes.

Omav Obregon Ord Z

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tfpmey for Defendant

Date: 2-237 -1/

ORDER
APPROVED by the Court. A plea of “Not Guilty” is entered for defendant effective this date.

Date: a aS~l\ ‘Rukul d, (Veen

United States Magistrate Judge

